     Case 3:10-cv-00597-LRH-VPC Document 101 Filed 08/18/14 Page 1 of 1



 1
 2
 3
 4
 5
 6                                  UNITED STATES DISTRICT COURT
 7                                         DISTRICT OF NEVADA
 8                                                 *****
 9    LAURA LEIGH                                     )
                                                      ) Case no. 3:10-CV-00597-LRH-VPC
10                                   Plaintiff,       )
                                                      ) ORDER
11    vs.                                             )
                                                      )
12    SALLY JEWELL; et al.,                           )
                                                      )
13                                   Defendants.      )
                                                      )
14
15           Before the court is plaintiff’s Unopposed Motion to Substitute Plaintiff, Laura Leigh, to
16    Represent Herself In Pro Per (#971).
17           Also before the court is plaintiff’s Unopposed Motion to Voluntarily Dismiss Case (#98).
18           The court having reviewed the documents, no opposition having been filed, and good
19    cause appearing,
20           IT IS THEREFORE ORDERED that plaintiff’s Unopposed Motion to Substitute
21    Plaintiff, Laura Leigh, to Represent Herself In Pro Per (#97) is GRANTED.
22           IT IS FURTHER ORDERED that plaintiff’s Unopposed Motion to Voluntarily Dismiss
23    Case (#98) is GRANTED.
24           IT IS FURTHER ORDERED that the clerk of the court shall DISMISS this matter.
25           DATED this 18th day of August, 2014.
26
27                                                         _______________________________
                                                           LARRY R. HICKS
28                                                         UNITED STATES DISTRICT JUDGE


             1
                 Refers to the court’s docketing number.
